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          In the United States Court of Federal Claims
                                            No. 20-653C
                                     (Filed: January 12, 2021)

 **************************
                          *
 TALESSIA WHITE JOHNSON,  *
                          *
           Plaintiff,     *
                          *
           v.             *
                          *
 THE UNITED STATES,       *
                          *
           Defendant.     *
                          *
 **************************

                ____________________________________________________

                               ORDER OF DISMISSAL
                ____________________________________________________

WILLIAMS, Senior Judge.
        This matter comes before the Court on Defendant’s motion to dismiss for lack of subject-
matter jurisdiction or, in the alternative, failure to state a claim upon which relief may be granted.
Because Plaintiff has not alleged any conduct by the United States, this Court lacks jurisdiction
over Plaintiff’s claims, and Defendant’s motion to dismiss is GRANTED.

                                           Background
        Plaintiff pro se Talessia White Johnson raises a variety of allegations against “TV [and]
Radio Stations” and specifically names “Sinclair Broadcasting.” Compl. at 1. Plaintiff alleges
“mental abuse, violation of tenant rights, and [the] slander[ous] use of [her] name.” Compl. at 2.
Plaintiff further states that she received “verbal attacks from [the] public,” “verbal abuse from
people on [the] T.V. and radio” who “told [her] personal business over the air,” and other verbal
attacks in the form of criticism and name-calling. Compl. at 2-3. Plaintiff claims that the alleged
verbal attacks led to anxiety, stress, additional health issues, loss of housing benefits, and
“destroyed [her] life/reputation.” Id.

        Plaintiff has the burden of establishing subject-matter jurisdiction in this Court. Reynolds
v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). The Court must dismiss
the action if it finds subject-matter jurisdiction to be lacking. Adair v. United States, 497 F.3d
1244, 1251 (Fed. Cir. 2007). The court assumes all factual allegations as true and will construe
the complaint in a manner most favorable to the plaintiff when ruling on a motion to dismiss
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pursuant to Rule 12(b)(1). Pennington Seed, Inc. v. Produce Exch. No. 299, 457 F.3d 1334, 1338
(Fed. Cir. 2006).

        The filings of pro se litigants are held to “less stringent standards than formal pleadings
drafted by lawyers.” Naskar v. United States, 82 Fed. Cl. 319, 320 (2008) (quoting Haines v.
Kerner, 404 U.S. 519, 520 (1972)). However, pro se plaintiffs still bear the burden of establishing
the Court’s jurisdiction and must do so by a preponderance of the evidence. Reynolds, 846 F.2d
at 748; Tindle v. United States, 56 Fed. Cl. 337, 341 (2003).

       The Tucker Act, 28 U.S.C. § 1491(a)(1) (2012), provides that this Court:

       shall have jurisdiction to render judgment upon any claim against the United States
       founded either upon the Constitution, or any Act of Congress or any regulation of
       an executive department, or upon any express or implied contract with the United
       States, or for liquidated or unliquidated damages in cases not sounding in tort.

        In her complaint, Plaintiff does not allege any conduct by the United States, but rather
claims that Sinclair Broadcasting and other unnamed television and radio stations are the source
of her injuries. Because the only proper defendant in this Court is the United States, this Court
lacks jurisdiction to entertain Plaintiff’s claims. United States v. Sherwood, 312 U.S. 584, 588
(1941); Berdick v. United States, 222 Ct. Cl. 94, 99 (1979).1

                                            Conclusion

       Defendant’s motion to dismiss for lack of jurisdiction is GRANTED. The Clerk is
directed to enter judgment.




                                                      __ Mary Ellen Coster Williams_________
                                                      MARY ELLEN COSTER WILLIAMS
                                                      Senior Judge




1       Additionally, to the extent that Plaintiff alleges claims of defamation, such claims sound in
tort and this Court lacks jurisdiction to entertain them. Rick’s Mushroom Serv., Inc. v. United
States, 521 F.3d 1338, 1343 (Fed. Cir. 2008) (holding that the Court of Federal Claims lacks
jurisdiction to hear claims sounding in tort); see also Stewart v. United States, 130 Fed. Cl. 172,
178 (2017) (stating that the plaintiff’s claims of invasion of privacy, harassment, intimidation, and
humiliation sound in tort and must be dismissed for lack of subject-matter jurisdiction); Edelmann
v. United States, 76 Fed. Cl. 376, 381 (2007) (finding that the Court of Federal Claims lacked
jurisdiction over the plaintiff’s tort claims of slander, defamation, intimidation, and harassment).

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